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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                          2:15-CR-00140-MCE
12                  Plaintiff,
                                                        PRELIMINARY ORDER OF
13          v.                                          FORFEITURE
14   RAFAEL PAHUA-MEJIA,
15                  Defendant.
16
17          Based upon the plea agreement entered into between plaintiff United States of America and

18 defendant Rafael Pahua-Mejia, it is hereby ORDERED, ADJUDGED AND DECREED as follows:
19          1.      Pursuant to 21 U.S.C. § 853(a), defendant Rafael Pahua-Mejia’s interest in the

20 following property shall be condemned and forfeited to the United States of America, to be disposed
21 of according to law:
22                  a.      Approximately $32,870.00 in U.S. Currency.
23          2.      The above-listed property was used or intended to be used to commit or to promote

24 the commission of violation of 21 U.S.C. § 841(a).
25          3.      Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be authorized to

26 seize the above-listed property. The aforementioned property shall be seized and held by the United
27 States, in its secure custody and control.
28          4.      a.      Pursuant to 21 U.S.C. § 853(n) and Local Rule 171, the United States shall
                                                       1
29                                                                              Preliminary Order of Forfeiture
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 1 publish notice of the order of forfeiture. Notice of this Order and notice of the Attorney General’s
 2 (or a designee’s) intent to dispose of the property in such manner as the Attorney General may direct
 3 shall be posted for at least 30 consecutive days on the official internet government forfeiture site
 4 www.forfeiture.gov. The United States may also, to the extent practicable, provide direct written
 5 notice to any person known to have alleged an interest in the property that is the subject of the order
 6 of forfeiture as a substitute for published notice as to those persons so notified.
 7                   b.      This notice shall state that any person, other than the defendant, asserting a\

 8 legal interest in the above-listed property, must file a petition with the Court within sixty (60) days
 9 from the first day of publication of the Notice of Forfeiture posted on the official government
10 forfeiture site, or within thirty (30) days from receipt of direct written notice, whichever is earlier.
11           5.      If a petition is timely filed, upon adjudication of all third-party interests, if any, this

12 Court will enter a Final Order of Forfeiture pursuant to 21 U.S.C. § 853(a), in which all interests will
13 be addressed.
14           IT IS SO ORDERED.

15 Dated: October 13, 2016
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29                                                                                    Preliminary Order of Forfeiture
